    Case: 1:19-cr-00669 Document #: 99 Filed: 02/19/20 Page 1 of 3 PageID #:1146




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                x
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                                                :
UNITED STATES OF AMERICA,                       :
                                                :
                  v.                            :   No. 19 CR 669
                                                :   Honorable Edmond E. Chang
GREGG SMITH,                                    :
MICHAEL NOWAK,                                  :
JEFFREY RUFFO, and                              :
CHRISTOPHER JORDAN,                             :
                             Defendants.        :
                                                x

            UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMITS

       Defendant Gregg Smith respectfully submits this unopposed motion for leave to file an

opposition in excess of the 15-page limit mandated by Local Rule 7.1.

       1.     The deadline for Defendant Smith to file the opposition to the Commodity Futures

Trading Commission’s Motion to Quash is February 20, 2020.

       2.     Counsel for Defendant Smith has conferred with the CFTC concerning the request

for leave to exceed the 15-page limit under Local Rule 7.1, and the CFTC does not oppose the

request.

       3.     Expansion of the 15-page limit—to allow Defendant Smith to file a 21-page

opposition (not including the cover, tables, or certificates)—is warranted in light of the number

and complexity of the issues presented in the CFTC’s 21-page motion.
    Case: 1:19-cr-00669 Document #: 99 Filed: 02/19/20 Page 2 of 3 PageID #:1147




WHEREFORE, Defendant Smith respectfully requests that the Court grant the unopposed motion

to expand the page limit for the opposition to the CFTC’s Motion to Quash.




 Dated: February 19, 2020                          /s/ Jonathan D. Cogan
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                                                   Counsel for Defendant Gregg Smith




                                               2
    Case: 1:19-cr-00669 Document #: 99 Filed: 02/19/20 Page 3 of 3 PageID #:1148




                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2020, I caused a copy of the foregoing Motion for

Leave to Exceed Page Limits to be filed with the Clerk of the Court through the CM/ECF system,

which will provide notice of the filing to all counsel of record.


                                                      /s/ Jonathan D. Cogan
                                                      Jonathan D. Cogan

                                                      Counsel for Defendant Gregg Smith




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